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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION
                                   ____________________


 UNITED STATES OF AMERICA,                             No. 1:21-cr-40

                 Plaintiff,                            Hon. Robert J. Jonker
 v.                                                    Chief United States District Judge

 CHRISTOPHER ALLAN BODEN, a/k/a                        Hon. Phillip J. Green
 “Captain,” LEESA BETH VOGT, a/k/a                     United States Magistrate Judge
 “Lis Bokt,” a/k/a “Moose,” and DANIEL
 REYNOLD DEJAGER, a/k/a “Daniel
 Reynold,” a/k/a “Daniel Miester,” a/k/a
 “Danichi,”

             Defendants.
 _____________________________________/


              DEFENDANTS’ JOINT UNOPPOSED MOTION
        TO EXTEND THE DEADLINE TO FILE PRE-TRIAL MOTIONS

         Defendants Christopher Allan Boden, Leesa Beth Vogt, and Daniel Reynold DeJager, by

and through their undersigned attorneys, respectfully request the Court to extend the current

deadline for the parties to file their pre-trial motions.

         The Court previously set a deadline of July 1, 2021 for the Defendants to file pre-trial

motions and a trial date of September 21, 2021. (ECF No. 34.) Defendants have analyzed and

continue to analyze and consider the potential to file a joint pretrial motion, and in light of the

novel legal issues presented by this matter, respectfully request that the Court extend that dead-

line by 14 days to July 15, 2021. FED. R. CRIM. P. 12(c)(2). Defendants do not seek to alter any

other dates applicable to this matter.
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           On June 18, 2021, AUSA Justin Presant informed Defendants’ counsel via email that the

United States does not object to the requested relief. Consequently, the request is “unopposed”

by the United States.

Dated: June 21, 2021                              /s/ Brian P. Lennon
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                                                  Paul H. Beach (P82036)
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                                                  Attorneys for Defendant Christopher Boden


Dated: June 21, 2021                              /s/ Brett A. Purtzer (with permission)
                                                  Brett A. Purtzer
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                                                  Attorneys for Defendant Daniel Reynold
                                                  DeJager


Dated: June 21, 2021                              /s/ Matthew G. Borgula (with permission)
                                                  Matthew G. Borgula (P57330)
                                                  Laura J. Helderop (P82224)
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